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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            January 03, 2022
                        UNITED STATES DISTRICT COURT
                                                                           Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                         §
ADAM LEE, et al.,                        §
                                         §
               Plaintiffs,               §
                                         §            No. 4:21-cv-01321
v.                                       §
                                         §
SAMSUNG ELECTRONICS                      §
AMERICA, INC.,                           §
                                         §
               Defendant.                §
                                         §

                                     ORDER
      On the parties’ joint motion, Judge Ellison adjourned the initial status

conference set for September 14, 2021, Notice, ECF No. 11, until after resolution of

the pending motion to dismiss and motion to strike class allegations, Order, ECF

No. 18, rescheduling it for January 20, 2022, Notice, ECF No. 15. Since the motions

are still pending, the initial status conference set for January 20, 2022 is VACATED.

The Court will schedule a conference with the parties, if necessary, after ruling on

the motions.

      SIGNED on January 3, 2022.

                                             ___________________________
                                                 Dena Hanovice Palermo
                                               United States Magistrate Judge
